     Case 4:22-cv-00938-O Document 1 Filed 10/19/22                   Page 1 of 8 PageID 1



                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

MADISON A NEWELL                                  §
                                                  §
Plaintiff,                                        §
                                                  §
                         v.                       §            CIVIL ACTION NO:
                                                  §
UNIVERSITY OF NORTH TEXAS                         §
HEALTH SCIENCE WILLED BODY                        §
PROGRAM                                           §
                                                  §
        Defendant.                                §            JURY TRIAL DEMANDED

                                    ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff Madison A. Newell (“Newell” or “Plaintiff”) presents this, her Original Complaint

against Defendant University of North Texas Health Science Willed Body Program (“UNT” or

“Defendant”) and for causes of action would show the Court as follows:

                                                  I.

                                         INTRODUCTION

        1.01    Plaintiff brings this action for sex discrimination, sex harassment, and unlawful

retaliation under Title VII and Chapter 21 of the Texas Labor Code.

                                                  II.

                                             PARTIES

        2.01    Plaintiff, Madison Newell Christina Bellanger is a citizen and resident of the State of

Texas. Plaintiff resides at 138 Summit Ridge Springtown, Texas 76802 and may be reached through

the undersigned counsel.

        2.02    Defendant UNT is an active a fulltime University organized under the laws of Texas

and is authorized to do business in Texas. Defendant maintains offices at 3500 Camp Bowie Blvd,

Plaintiff’s Original Complaint                                                                  Page 1
     Case 4:22-cv-00938-O Document 1 Filed 10/19/22                    Page 2 of 8 PageID 2



Fort Worth, TX 76107. Defendant may be served through its registered agent for service, Alan

Stucky, at 801 North Texas Blvd, Room 318, Denton, Texas 76201.

          2.03   At all times relevant herein. Plaintiff worked at the Defendant’s Fort Worth Offices in

the division of “Willed Body.”

                                                  III.

                                  JURISDICTION AND VENUE

          3.01   Jurisdiction is conferred on this Court by 28 U.S.C. § 1331, and pendant and

supplemental jurisdiction of the common law claims.

          3.02   Venue for all causes of actions stated herein lies in the Northern District of Texas

because the acts alleged in this Complaint took place, in whole or in part, within the boundaries of

this District pursuant to 28 U.S.C. § 1391. This Court also has pendent jurisdiction over state law

claims.

          3.03   Plaintiff filed a timely charge of discrimination on or about May 16, 2022, and was

issued her Notice of Right to Sue on or about July 21, 2022. Plaintiff did not receive her Notice of

Right to Sue until approximately July 24, 2022. Plaintiff has filed this lawsuit within 90 days of her

receipt of the Notice of Right to Sue.

                                                  IV.

                                    FACTUAL ALLEGATIONS

          4.01   Plaintiff is a19 year-old Caucasian female.

          4.02   Plaintiff began her employment with Defendant on or about August 1, 2021 and was

terminated on or about January 2022. At the time Plaintiff was also full-time student at UNT.

      4.03       Plaintiff worked for Defendant as a technician working part-time earning
$13/hour.

          4.04   In the course of her employment, Plaintiff was sexually harassed by two

employees, Braden Smith (“Smith”) and Francis Washington. (“Washington”) Smith would talk
Plaintiff’s Original Complaint                                                                   Page 2
     Case 4:22-cv-00938-O Document 1 Filed 10/19/22                   Page 3 of 8 PageID 3



about his own sex life in the office in an extremely vulgar manner that made Plaintiff extremely

uncomfortable.

        4.05     Smith while talking either to Plaintiff or in Plaintiff’s presence, would openly talk

about a having a threesome with pregnant women. Plaintiff has recordings of these

conversations.

        4.06     Plaintiff told Smith to stop several times. When Smith continued to speak to

Plaintiff inappropriately, Plaintiff reported Smith to her manager, who forwarded Plaintiff’s

report to HR. Plaintiff followed upby contacting Human Resources directly because the Smith

continued to engage in the same vulgar and inappropriate behavior.

        4.07     Nothing came of Plaintiff’s complaint to HR.

        4.08     Plaintiff was then sexually harassed repeatedly by Washington, who would touch

Plaintiff’s her hair, her sides, and make comments on Plaintiff’s lip ring such as: “I’ve always

wanted to kiss a girl with a lip ring”. Smith would also tell Plaintiff who was lesbian that he

“could make her straight” by having sex with her. Smith would deliberately leave his office if he

would see Ms. Newell walking down in order to open the door for her, giving him opportunity to

see her from behind.

        4.09     This latest harassment began in late October. Plaintiff reported Smith to her

manager and followed up with her report to HR.

        4.10     Plaintiff was taken off the schedule following her s most recent reports of

harassment to HR. After Plaintiff was removed from the schedule, she received several texts

from her colleagues asking why the supervisors were telling everyone to cut her out of meetings

and cut off all communication with her.

        4.11     Plaintiff attempted several times to reach out to Human Resources but was never

able to speak with anyone from HR and never received a reason for her being taken off the

Plaintiff’s Original Complaint                                                                   Page 3
      Case 4:22-cv-00938-O Document 1 Filed 10/19/22                 Page 4 of 8 PageID 4



schedule.

       4.12     In talks with the University following her complaints of harassment, Plaintiff’s

mother came into possession of an email from her supervisor to another supervisor stating that

Plaintiff’s report corroborated earlier claims against the same individuals who had harassed

Plaintiff.

       4.13     Consequently, Plaintiff was terminated after she engaged in protected activity in

violation of Title VII and Chapter 21 of the Texas Labor Code.

       4.14     Plaintiff has not only suffered monetary damages but has also been diagnosed

with Post Traumatic Stress Disorder which is a direct result of Plaintiff’s endurance of the verbal

and physical harassment in the workplace.

                                                 V.

                                         FIRST COUNT

 UNLAWFUL SEXUAL HARASSMENT AND HOSTILE WORKING CONDITIONS IN
                            VIOLATION OF TITLE VII,
   42 U.S.C. § 2000(E) ET SEQ. AND CHAPTER 21 OF THE TEXAS LABOR CODE

        5.01    The foregoing paragraphs of this Complaint are incorporated in this count as fully as

if set forth at length herein.

        5.02    Plaintiff is an employee within the meaning of 42 U.S.C. § 2000e(f) Title VII and

Chapter 21 of the Texas Labor Code, since Plaintiff belongs and belongs to a class protected under

that statute, namely females.

        5.03    Defendant is an employer within the meaning of 42 U.S.C. § 2000e(d) Title VII and

Chapter 21 of the Texas Labor Code

        5.04    Defendant knowingly subjected Plaintiff to a sexually hostile work environment

where she was subjected to unwelcome verbal and physical advances by her coworkers based upon

her gender in violation of Title VII and Chapter 21 of the Texas Labor Code.

Plaintiff’s Original Complaint                                                                 Page 4
     Case 4:22-cv-00938-O Document 1 Filed 10/19/22                     Page 5 of 8 PageID 5



        5.05    Plaintiff reported the se unwelcome advances to her manager and Defendant;s HR

division and thereafter filed a timely charge of sexual harassment and discrimination with the Equal

Opportunity Employment Commission (“EEOC”) and the Texas Workforce Commission.

        5.06    On Plaintiff received her Right to Sue Letter dated July 21, 2022. Plaintiff timely

filed suit against Defendant within 90 days of her receipt thereof.

        5.07    As a direct and proximate result of Defendant’s conduct, Plaintiff suffered the

following injuries and damages:

                         a.      Plaintiff suffered mental anguish and emotional
                                 distress, as well as loss of enjoyment of life,
                                 inconvenience, and general damages; and

                         b.      Plaintiff suffered lost wages and related benefits.

        5.08    Defendant violated Title VII and Chapter 21 of the Texas Labor Code by

discriminating against Plaintiff in connection with compensation, terms, conditions, or privileges of

employment because of Plaintiff’s sexual orientation. Plaintiff was subjected to a continuous course

of harassment and worked in a sexually hostile environment. Plaintiff is entitled to an award of

attorneys’ fees and costs under Title VII, U.S.C. §2000e-5(k).

        5.09    Such discrimination by Defendant against Plaintiff was intentional. Accordingly,

Plaintiff is entitled to recover damages for back pay, front pay, past and future pecuniary losses,

emotional pain and suffering, inconvenience, loss of enjoyment of life and other non-pecuniary

damages. Further, this discrimination was done with malice or with reckless indifference to

Plaintiff’s federally protected rights. Plaintiff is therefore also entitled to recover punitive damages.




Plaintiff’s Original Complaint                                                                    Page 5
     Case 4:22-cv-00938-O Document 1 Filed 10/19/22                    Page 6 of 8 PageID 6



                                                 VI.

                                 SECOND COUNT
   UNLAWFUL RETALIATION IN VIOLATION OF 42 U.S.C. § 2000(E) ET SEQ and
                  CHAPTER 21 OF THE TEXAS LABOR CODE
                                        Hmm
      6.01 The foregoing paragraphs of this Complaint

are incorporated in this count as fully    as if set forth at length herein.

         6.02 Pursuant to 42 US.C. s 2000(E) et seq., an employer commits an unlawful

employment practice if the employer retaliates or discriminates against a person who opposes a

discriminatory practice; makes or files a charge; files a complaint; or testifies, assists, or

participates in any manner in an investigation, proceeding, or hearing.

        6.03    The same provision is found in Chapter 21.055 of the Texas Labor Code.

        6.04    Defendant retaliated against Plaintiff after she complained to Defendant about the

unwelcome verbal and physical advances and conduct by Smith and Washington.

        6.05    Specifically, Defendant terminated Plaintiff’s employment for no apparent reason.

        6.06    Since Defendant gave no reason for Plaintiff’s termination and because Plaintiff had

committed no wrongdoing, Defendant’s failure to provide a reason raises the presumption that

Defendant retaliated against Plaintiff for her protected activity of reporting harassment and

intimidation based on her gender. Plaintiff’s reports of harassment were protected actions under Title

VII and Chapter 21 of the Texas Labor Code.

        6.07    Defendant knowingly and willfully retaliated against Plaintiff for her protected

activity in violation of Title VII.

        6.08    Defendant’s conduct was malicious and/or taken with reckless disregard

for Plaintiff’s rights. It was foreseeable by Defendant that Plaintiff would suffer harm as a result of

the retaliation and discrimination.



Plaintiff’s Original Complaint                                                                  Page 6
     Case 4:22-cv-00938-O Document 1 Filed 10/19/22                  Page 7 of 8 PageID 7



                                                   VII.

                                      JURY TRIAL DEMANDED

        7.01    Plaintiff demands trial by jury.

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendant be cited to

appear and answer herein, and that on final trial, Plaintiff have and recover and the following relief

against Defendant:

        (1)     Judgment for actual damages in the amount of past and future lost earnings and

benefits and damages to past and future earnings capacity;

        (2)     Judgment for back pay and front pay as allowed by law;

        (3)     Judgment for past and future pecuniary losses, emotional pain and suffering,

inconvenience, loss of enjoyment of life and other non-pecuniary losses;

        (4)     Damages for past and future mental anguish, emotional distress, and physical

distress;

        (5)     Exemplary damages in an amount to be determined by the trier of fact;

        (6)     Prejudgment and Post-judgment at the maximum legal rate;

        (7)     All costs of court;

        (8)     Attorneys’ fees; and

        (9)     Such other and further relief to which Plaintiffs may be justly entitled.

Date: October 19, 2022.




Plaintiff’s Original Complaint                                                                 Page 7
     Case 4:22-cv-00938-O Document 1 Filed 10/19/22    Page 8 of 8 PageID 8



                                             Respectfully submitted,

                                             KILGORE & KILGORE, PLLC

                                          By: /s/ Nicholas A O’Kelly

                                             Nicholas A O’Kelly
                                             State Bar No. 15241235
                                             KILGORE LAW CENTER
                                             3141 Hood Street,
                                             Suite 500
                                             Dallas, Texas 75219
                                             Tel. (214) 379-0827
                                             Fax (214) 379-0848 T
                                              email: nao@kilgorelaw.com
                                             ATTORNEY FOR PLAINTIFF
                                             MADISON NEWELL




Plaintiff’s Original Complaint                                            Page 8
